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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :       Case No:
                                            :
              v.                            :
                                            :       VIOLATIONS:
TROY WEEKS,                                 :
                                            :       18 U.S.C. § 111(a)(1)
                                            :       (Assaulting, Resisting, or Impeding
                        Defendant.          :        Certain Officers)
                                            :
                                            :       18 U.S.C. § 231(a)(3)
                                            :       (Obstruction of Law Enforcement
                                            :       during Civil Disorder)
                                            :
                                            :       18 U.S.C. § 1752(a)(1)
                                            :       (Entering and Remaining in a Restricted
                                            :       Building or Grounds)
                                            :
                                            :       18 U.S.C. § 1752(a)(2)
                                            :       (Disorderly and Disruptive Conduct in a
                                            :       in Restricted Building or Grounds)
                                            :
                                            :       18 U.S.C. § 1752(a)(4)
                                            :       (Engaging in Physical Violence in a
                                            :       Restricted Building or Grounds)
                                            :
                                            :       40 U.S.C. § 5104(e)(2)(E)
                                            :       (Impeding Passage through the Capitol
                                            :       Grounds or Buildings)


     MOTION TO SEAL AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

       The United States of America, by and through the United States Attorney for the District

of Columbia, respectfully moves for an order to place and maintain under seal, until the Arrest

Warrant is executed, the Affidavit in Support of Criminal Complaint, Criminal Complaint, and

Arrest Warrant in the above-captioned matter, this Motion and Supporting Memorandum, the

proposed Order attached to this Motion, and any Order granting this motion.

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In support thereof, the government states as follows:

       1.      The United States is investigating allegations that TROY WEEKS willfully and

knowingly entered the United States Capitol on January 6, 2021 without legal authority,

participated in violent and disorderly conduct, engaged in physical violence on restricted grounds,

obstructed law enforcement during a civil disorder, and impeded passage through the Capitol

grounds or buildings in violation of 18 U.S.C. § 111(a)(1); 18 U.S.C. 231(a)(3); 18 U.S.C. §

1752(a)(1); 18 U.S.C. § 1752(a)(2); 18 U.S.C. § 1752(a)(4); 40 U.S.C. § 5104(e)(2)(E).

       2.      The Affidavit in Support of Criminal Complaint references evidence gathered in

the course of the investigation. The evidence includes statements identifying the defendant by an

acquaintance of the defendant. The public disclosure of the Government’s evidence could

compromise the integrity of the investigation, including the ability of the United States to locate

and arrest the defendant, and could needlessly expose the statements of the identifying individual

before the defendant has been apprehended. Thus, a sealing order is necessary to avoid hindering

the ongoing investigation in this matter.

       3.      As stated in Washington Post v. Robinson, 935 F.2d 282, 288 (D.C. Cir. 1999),

there is a presumption of access to Court proceedings. But, this can be overridden if “‘(1) closure

serves a compelling interest; (2) there is a substantial probability that, in the absence of closure,

this compelling interest would be harmed; and (3) there are no alternatives to closure that would

adequately protect the compelling interest.’” Id. at 290 (quoting Oregonian Pub. Co. v. United

States Dist. Court, 920 F.2d 1462, 1466 (9th Cir. 1990)).

       4.      In this matter, the United States has a compelling interest in preserving the integrity

of its investigation and arresting the defendant. A limited sealing order ensuring that filings related


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to the Criminal Complaint and Arrest Warrant are not accessible from the Court’s public files is

narrowly tailored to serve a compelling interest.

       5.      Furthermore, the United States respectfully submits that complying with the normal

notice requirements of Washington Post would defeat the purpose of the motion to seal. Persons

who know the criminal justice system also know that docketing a motion to seal an Affidavit in

Support of Criminal Complaint and Arrest Warrant, or a resulting sealing order, means that the

defendant is charged with a crime, and the Government intends to arrest him. Thus, if this Motion

or a sealing order were to become public, it would be the same as making public the Complaint

and Arrest Warrant.

       WHEREFORE, the United States respectfully requests that this Court issue an Order

directing that the Clerk of the Court place and maintain under seal, until execution of the Arrest

Warrant, the Affidavit in Support of Criminal Complaint, this Motion and Supporting

Memorandum, the proposed Order attached to this Motion, and any Order granting this motion.



                                              Respectfully submitted,


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                                              UNITED STATES ATTORNEY
                                              D.C. Bar No. 481052

                                      By:     /s/Kaitlin Klamann
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